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uNlTEo sTATEs oF AMEFticA
-v- 02-20443-01-Nla mg

V|NCENT CURR|E
Apri| R. Goode, FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Nlemphis, Tennessee 38103

 

AlV|ENDED* JUDGlVlENT lN A CR||V||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on January 31 , 2003. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & Section MEML_S£ C_OFLG_MC! N_UFDM§)
18 U.S.C. § 922(g) Felon in possession of a firearm 08/06/2002 2

The defendant is re-sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the i\/landatory
Victims Fiestitution Act of 1996.

Count 1 dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of He-lmposition of Sentence:
Defendant’s Date of Birth: 07/19/1978 Apri| 14, 2005
Deft’s U.S. lV|arshal No.: 18746-076

Defendant’s Residence Address:
1251 N. Be|ievue
Memphis, TN 38107

M(/“Wl`_

SAi\/|UEL H. MAYS, JFi.
UN|TED STATES D|STF%|CT JUDGE

Aprii °' l , 2005

 

this document entered on the docket sheet in compliance
;m nuie 55 and/or azrb) msch on "~5*

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Case No: 02-20443-01-|\/|:=1
Defendant Name: Vincent Currie Page 2 of 4

lNIPR|SON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred twenty (120) months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour drug rehabilitation program;

That defendant be designated to serve his term of imprisonment at a facility closest
to i\/|emphis, Tennessee.

The defendant is remanded to the custody of the United States i\/larshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MAHSHAL
By:

 

Deputy U.S. l\/|arshal

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Case No: 02~20443-01-Ma
Defendant Name: Vincent Currie Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of *two (2) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit anotherfederal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3_ The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment,l
8. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesr except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No.' 02-20443-01-Ma
Defendant Name: Vincent Currie Page 4 of 4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal l\/lonetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Officer for treatmentof narcotic addiction or drug or alcohol dependency which may include
testing for the detection of substance use or abuse. Further, the defendant shall be required to
contribute to the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment
3. The defendant shall obtain his General Educationa| Development (G.E.D.) Diploma.
4. *The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|N||NAL IVIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgmentr pursuant to 18 U.S.C. § 3612(f). A|| of the payment
options in the Schedu|e of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediatelyl

FlNE

No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 48 in
case 2:02-CR-20443 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

